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 1   NINA WILDER (CA SBN 100474)
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 4   E-Mail: ninawilder@aol.com
 5   Attorneys for Defendant
     SION LIM
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 8
                               UNITED STATES DISTRICT COURT
 9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                         (OAKLAND DIVISION)
11
12   UNITED STATES OF AMERICA,           ) No. CR 06-0051 CW
                                         )
13                     Plaintiff,        ) STIPULATION AND
                                         ) TRAVEL ORDER
14               vs.                     )
                                         )
15                                       )
     KEVIN THOMPSON, ET AL.              )
16                                       )
                       Defendants.       )
17   ___________________________________ )
18          IT IS HEREBY AGREED by the parties, through their respective attorneys, that
19   defendant Sion Lim’s request for leave to travel with his wife outside the United States to
20   celebrate their tenth anniversary should be granted. Defendant is permitted to travel to Istanbul,
21   Turkey, departing the United States for March 27, 2006 and returning to the United States on
22   April 11, 2006.
23          Travel is conditioned on defendant’s providing notice, an itinerary and contact numbers
24   abroad to Pretrial Services and the government in advance of travel. Defendant shall surrender
25   ///
26
27   ///
28


     TRAVEL ORDER (CR 06-0051CW)
     (SION LIM)                                      1
     Case 4:06-cr-00051-CW           Document 42          Filed 03/21/06                   Page 2 of 2




 1   his passport immediately upon his return, and comply with all terms of his bond while traveling
 2   and shall maintain contact with Pretrial Services as directed.
 3
 4   Dated: March 17,2006                                   KEVIN V. RYAN
                                                            United States Attorney
 5
 6
                                                            /s
 7                                                          MAUREEN C. BISSETTE
                                                            Assistant United States Attorney
 8
     Dated: March 16, 2006                                  WEINBERG & WILDER
 9
10
                                                            /s
11                                                          NINA WILDER
                                                            Attorneys for Defendant
12                                                          SION LIM ATES DISTRICT C
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13   IT IS SO ORDERED.                                                                        ERED




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14                                                                                       ayne D.
                                                                                                   Brazil

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                                                                                 Judge W




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                                                                                     D IS T IC T O
     Dated: March 21, 2006                                                                 R

16                                                          HONORABLE WAYNE D. BRAZIL
                                                            United States Magistrate Judge
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     TRAVEL ORDER (CR 06-0051CW)
     (SION LIM)                                       2
